Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page1of35 Page ID #416

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS
EAST ST. LOUIS DIVISION
~ ANTHONY OLIVE, #B45286,
Plaintiff,
VS. No. 02-945-WDS

DONALD N. SNYDER, et al.,

ee ee ee ee ee ee ee ee ee”

Defendants.

DEFENDANTS’ RESPONSE
TO PLAINTIFF’S INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS

NOW COME the Defendants, ROGER COWAN, GARY A. KNOP, THOMAS
MAUE, and TOM CARAWAY, by and through their attorney, Lisa Madigan, Attorney
General for the State of Illinois, hereby submit their response to Plaintiff's
Interrogatories and Request for Production of Documents as follows:

Defendants object to Plaintiff's supplemental interrogatories and requests to
produce because they are not in the proper form as required by the Federal Rules of
Civil procedure. Defendants assert that pursuant to the Federal Rules of Civil
Procedure, Plaintiff is entitled to serve no more that 25 written interrogatories, including
discrete subparts, on Defendant. Fed. R. Civ. P. 33(a)(1). Defendants responded to
previous interrogatories that exceeded 25 written interrogatories and their discrete
subparts. Plaintiff's second set of Interrogatories exceeds the number of interrogatories
permitted by the Federal Rules of Civil Procedure. Plaintiff's first set of Interrogatories

for Defendant Cowan included 21 interrogatories with approximately 30 discrete

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 2 of 35 Page ID #417

subparts. Plaintiff's first set of Interrogatories for Defendant Knop included 21
interrogatories with approximately 15 discrete subparts. Plaintiff's first set of
Interrogatories for Defendant Maue included 17 interrogatories with approximately 23
discrete subparts. Plaintiff's first set of Interrogatories for Defendant Caraway included
15 interrogatories with approximately 15 discrete subparts. Plaintiff has not requested
leave to serve Defendants with interrogatories in excess of 25.

1. Please state all outside or internal departments (including the Illinois
Department of Corrections or other agencies that conducted audits or inspections in
pertain to compliance with each state healthcodes at menard correctional center in the
segregation unit during the year 2000 through 2001. (sic)

Response: Defendants Knop, Cowan, and Caraway are no longer employed by
the Illinois Department of Corrections and do not have possession, custody or
control of documents that would contain this information. Defendant Maue is not
in possession of this information.

1. If those healthcodes are set forth in any policy, directive or other
documents, produce the document. (sic)

Response: Plaintiff is directed to Defendants’ response to Plaintiff's first
interrogatory number 1-21.

2. Please name by full description and location as well as state if any of the
referenced / listed departments or agencies in interrogatory #1 conducted an audit or
inspection at Menard Correctional Center in the Segregation unit in the year 2000

through 2001.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 3of35 Page ID #418

Response: Plaintiff is directed to Defendants’ response to Plaintiff's first
interrogatory number 1.

2. If so, please produce all documents relevant to each Audit or inspection.
Response: Plaintiff is directed to Defendants’ response to Plaintiff's first
interrogatory number 1.

3. Please state which Menard Correctional Center official who were directly
responsible for ensuring in the year 2000 through 2001 that the segregation building
healthcodes, safety and sanitation needs were met. (sic)

Response: Plaintiff is directed to Defendants’ response to Plaintiff's first
interrogatory number 1.

4. Please state if there were any recommendations made in the year 2000
through 2001 by any outside or internal departments (including the Illinois department
of corrections) or other agencies requesting any changes in or that the menard
correctional center segregation building healthcodes or safety and sanitation policies
either must be changed, conformed to, or is not working. (sic)

Response: Defendant Caraway was not responsible for ensuring the
responsibilities for the segregation building at Menard Correctional Center and is
unaware as to who would have had these responsibilities in 2000 through 2001.

4. If so, please produce all documents relevant to this interrogatory.

Response: Plaintiff is directed to Defendants’ response to interrogatory number

1. Attached to this document as Bates stamped documents 1- 21 are documents

relevant to Plaintiff's request.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 4of35 Page ID #419

5. Please state any existing statements or recommendations pertaining to
the quality of menard correctional center seg building being a present (during the year
2000 through 2001) or future health risk to inmates housed in the segregation building.
(including but not limited to water quality).

Response: Defendants do not understand Plaintiff's interrogatory number 5 and
therefore cannot formulate an answer to this interrogatory.

5. If such statements or recommendations exist in any documents, please
produce the documents.

Response: Plaintiff is directed to Defendants’ response to interrogatory number
5.

6. Please state if there has been any injunctions or consent decrees within
the past 10 years issued on menard correctional center by a court of law that would be
relevant, consistent, or similar to the eighth amendment claims made by plaintiff in the
above entitled cause.

Response: Defendants are unaware of any information responsive to
interrogatory number 6.

6. If so, please produce each injunction or consent decree.

Response: Plaintiff is directed to Defendants’ response to the first part of
Plaintiff's interrogatory number 6.
7. Please state in great detail the duties of each individual responsible for

ensuring that the segregation in menard correctional center during the year 2000

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 5of35 Page ID #420

through 2001 were met in pertain to safety and sanitation requirements as well as the
segregation building health codes.

Response: Defendant objects to Plaintiff's interrogatory number 7 as overly
burdensome. Additionally, as stated earlier, Defendants no longer employed by
the Illinois Department of Corrections do not have access to this information.

7. If those job duties are set forth in any job description or other document,
produce the document.

Response: Plaintiff is directed to Defendants’ response to the first part of
Plaintiff's interrogatory number 7.

8. Please state the procedure in effect during november 2000 at menard
correctional center for responding to, investigating and deciding both inmate or staff
grievances or complaints. If the procedures for handling complaints or grievances
based on healthrisks, safety and sanitation is different from the procedures for handling
other kinds of grievances or complaints, state both procedures. (including but not
limited to separate procedures when handling inmate and staff grievances or
complaints.) (sic)

Response: Plaintiff is referred to 20 Ill. Admin. Code Section 504: Discipline and
Grievances for Offenders.

8. If those procedures are set forth in any directive, manual or other
document, produce the document.

Response: This information can be more easily obtained by Plaintiff at the

library at his current place of incarceration.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 6of35 Page ID #421

9. Please state if any grievances or complaints by any segregation working
member of staff or an inmate housed in segregation at menard correctional center were
filed during the year 2000 through 2001 concerning any health risks or safety and
sanitation violations. (sic)

Response: Defendant is no longer employed by the Illinois Department of
Corrections and do not have access to this information. Furthermore,
Defendants object to Plaintiff's interrogatory 9 as overly burdensome.

9. If so, produce each document.

Response: Plaintiff is referred to the first part of Defendants’ response to
number 9.

10. | Produce any and all documents created by menard correctional center
staff members in response to any complaints or grievances filed by staff or inmates
during the year 2000 through 2001 concerning a healthrisk or a safety and sanitation
concern. (sic)

Response: Defendants no longer employed by the Illinois Department of
Corrections do not have access to this information. Additionally, Defendants
object to Plaintiff's request as overly burdensome and vague.

11. Please state in detail upon inspection of menard correctional center
pursuant to 735 ILCS 135/2 by the Illinois Department of Health the complete
circumstances of the report that was issued to the Director of Corrections in the year

2000 through 2001 as to the sanitary conditions and needs of menard correctional

center.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 7 of 35 Page ID #422

Response: Defendants no longer employed by the Illinois Department of
Corrections do not have access to this information. Defendant Maue is not in
possession of this information.

11. If this report(s) or part thereof are set forth in a document, please produce
the document(s).
Response: Defendants no longer employed by the Illinois Department of
Corrections do not have access to this information.

12. Please state the prison standards promulgated by the federal and state
government in pertain to safety and sanitation conditions in a prison.
Response: Defendants object to Plaintiff's interrogatory number 12 as overly
broad.

12. If these standards are set forth in a document, please produce the
document.
Response: Defendants object to Plaintiff's request to produce as overly broad.

13. Please identify the regulation minimum standards established by the
department of public health which pertains to water supply, water hazards, rodent and
insect control for the Illinois Department of Corrections institutions. (including but not
limited to all amended standards since the year 2000.
Response: Defendants object to Plaintiff's interrogatory number 13 based on

relevance.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 8 of 35 Page ID #423

13. If such standards exist in any policy, directive or manual, please produce
all documents. :

Response: Plaintiff is referred to Defendants’ response to Plaintiff's
interrogatory number 13.

14. Please produce all existing documentation created by Menard
Correctional Center (strictly referencing to the menard correctional center segregation
unit in the year 2000 through 2001) showing a detailed description of compliance with
730 ILCS 5/3-7-3 institutional safety and sanitation(A).

Response: Defendant objects to Plaintiff's request as overly broad.
Additionally, Defendants no longer employed by the Illinois Department of
, Corrections do not have possession or control of these documents.

15. Please name each official during the year 2000 through 2001 that you
delegated your responsibilities to and/or gave signature authority to and for what
purpose was each Official delegated your responsibility or given your signature authority
for.

Response: Defendants object to Plaintiff's interrogatory number 15 based on
relevancy.

16. Please state if or not did you fully explain to each official upon delegating
your responsibilities to or provided your signature authority to the full
scope/circumstances and/or constitutional obligations of performing your duties and
signing your name. if so, State in great detail the complete explanation provided to

each official.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 9of35 Page ID #424

Response: Defendants object to Plaintiff's interrogatory number 16 based on
relevancy.

16. If such actions named in interrogatory #16 are descriptive in a document,
please produce all documents.

Response: Defendants object to Plaintiff's request to produce, number 16,
based on relevancy.

17. Please state in great detail by sequence of events the complete
circumstances involving each provided reason as to why plaintiff was segregated on
november 28, 2000 at menard correctional center. (sic)

Response: Defendants object to Plaintiff's interrogatory number 17 as this
interrogatory was answered by Defendants in Plaintiff's first set of
Interrogatories. Additionally, Plaintiff's interrogatory number 17 is not relevant to
his claims in the pending cause of action.

17. _ Please provide all documents created, used or reviewed leading up to or
during the placing this plaintiff in segregation at Menard Correctional Center on
november 28, 2000 (including but not limited to incident reports, memorandums, or
interviews conducted etc. . . as the term document is defined in federal rule of civil
procedure) (sic)

Response: Defendants object to Plaintiff's interrogatory number 17 based on
relevance. The reasons for Plaintiff's placement in segregation has no bearing
on Plaintiff's claims of conditions of confinement or claims of emotional distress.

18. Please individually state (all nine defendants) have you ever while being

employed as an IDOC official been found guilty or liable or was a recipient of an

9

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 10 of 35 Page ID #425

unfavorable decision reached by a court of law as a result of a civil complaint or criminal
complaint being filed by an inmate in custody of the Illinois Department of Corrections.
If so, please individually produce all documentation relevant or resulting to interrogatory
#18.

Response: Defendants objected to this interrogatory based on relevance in their
responses to Plaintiff's first set of Interrogatories, and continue their objection.

19. Please indicate when responding to interrogatory #18 and document
request #18 which civil or criminal complaint references to eighth amendment claims
that would be relevant, consistent or similar to the claims made by plaintiff in the above
entitled cause.

Response: Defendants objected to this interrogatory based on relevance in their
response to Plaintiff's first set of Interrogatories and continue their objection.

20. Please individually state or identify (all nine defendants) have you ever
took an oath or signed an oath on documentation as an employee of the Illinois
Department of Corrections consisting of the duties you are expected to perform or the
law you were expected to abide by. (sic)

Response: Defendants object to Plaintiff's interrogatory number 20 based on
relevance.

20. ‘If such oath s written in any policy, directive or other document, please
produce the document.

Response: Defendants object to Plaintiff's request to produce number 20 based

on relevance.

10

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 11o0f35 Page ID #426

21. Please identify if or not and/or the complete circumstances consisting of
an inmate receiving a monthly state pay (state allowance or state stipend) for the
purpose of purchasing hygiene items ensuring that an inmate body remains sanitary as
to his surroundings also. (sic)

Response: Defendants object to Plaintiff's interrogatory number 21 based on
relevance. Plaintiff's state pay is not at issue in this matter.

21. Please provide all existing documents pertaining to the purposes and
reasons of allocating a $10.00 state pay to each inmate.

Response: Defendants object to Plaintiffs request to produce number 21 based
on relevance.

22. Please state in great detail the protection, assistance or representation
you receive as an Illinois Department of Corrections employee, being apart of any
union, when a disciplinary report, investigative report or any complaint is filed against
each individual defendant alleging that an infraction have been committed or a crime
has tooken place. (sic)

Response: Defendants object to Plaintiff's interrogatory number 22 based on
relevance.

22. Please produce all documents or contracts signed by each defendant
consisting of each defendant being a member of a particular union who anticipates
protection, assistance or representation by a union representative should any situation
arise as an employee of the Illinois Department of Correction.

Response: Defendants object to Plaintiff's request to produce number 22 based

on relevance.

11

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 12 of 35 Page ID #427

Plaintiff wishes to clarify interrogatory and production of document request #21
relevancy to defendants as plaintiff eighth amendment claims all consist of health,
safety and sanitation reasons, where upon information and belief this particular monthly
state pay is provided to inmates for purposes of assistance in order for inmates to buy
soap, deodorant, toothpaste, a toothbrush, shampoo and conditioner etc. . . these items
as describe are definitely relevant to plaintiffs’ health, safety and sanitation claims
where this #10 month state pay was intentionally withheld from plaintiff during the 12
months of november 28, 2000 until november 28, 2001 and plaintiff is requesting
through interrogatory and production of document request #21 a response and
documents to ensure that defendants followed rules & regulation as promulgated by
IDOC for each defendant to follow referencing the allocation to plaintiff a $10 monthly
state pay and if not, why was this $10 monthly state pay intentionally withheld
preventing plaintiff to utilize this assistance for the purposes intended. (sic)

23. For Defendants Roger Cowan and Gary A. Knop. please state if you
directly or indirectly took part in or exerted any influential authority on a December 4,
2000 committee decision at Menard C.C. to ensure that plaintiff would endure a year
long effect of the eighth amendment claims described in plaintiff's complaint.
Response: Defendants Cowan and Knop object to Plaintiff's interrogatory
number 23 based on relevance. As stated above, Plaintiff's placement in
segregation is irrelevant to his conditions of confinement claims.

24. Please specify in great detail if the eighth amendment claims as set forth
in plaintiffs’ complaint are a result of or the complete circumstances of a december 4,

2000 committee hearing deriving from a menard correctional center institutional

12

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 13 0f 35 Page ID #428

standard or policy or an Illinois Department of Corrections agency standard or policy
imploring its adjustment committee officers to find a certain/particular percentage of
inmates appearing before an adjustment committee hearing guilty during the year 2000
through 2001. (sic)
Response: Defendants object to Plaintiff's interrogatory number 24 based on
relevance.

24. If such standard or policy are set forth in a directive or other ducment,
please produce the document(s).
Response: Defendants object to Plaintiff's request to produce number 24 based

on relevance.

Respectfully submitted,

GARY KNOP, ROGER COWAN,
THOMAS MAUE AND, TOM CARAWAY,

Defendants,

LISA MADIGAN, Attorney General,
State of Illinois

Ellen C. Bruce, #6288045 Attorney for Defendants,
Assistant Attorney General

500 South Second Street
Springfield, Illinois 62706 By: Opn. Cc Boo
(217) 782-9026 ELLEN C. BRUCE

Assistant Attorney General

Of Counsel.

13

Case 3:02-cv- 00945- WDS-DGW CO Rhea -f. Filed 06/30/08 Page 14 of 35 Page ID #429

Hm (Meug-
Ilinois Tons Begenbardt- George H. Ryan

Govemor
Department of

Corrections Donald N. Snyder Jr

1301 Concordia Court / P.O.Box 19277 / Springfield , IL. 62784.9277 / Telephone: (217) 522-2666 / TDD: (800) 828-0844 ©

MEMORAN DUM UM
DATE: — 7712101
TO: Roger Cowan, Warden

Menard Correctional Center

FROM: Mark Gardes, Environmental Health Coordinator
Health Services Administration

SUBJECT: Safety and Sanitation Inspection Response
Following review of your 6/26/01 response to findings contained in a 6/6/01 Safety and

Sanitation Inspection report, it is. my opinion that. all corrective actions taken are
appropriate for addressing the 6/01 report findings. |

Yibbet

Mark Gerdes
. Environmental Health Coordinator

ce: Menard CC Audit Liaison

a

D0945-WDS-DGW Document 85-1 Filed 06/30/08 Page 15 of 35 Page ID #430

. . George H. Ryan
Illinois Govemor
Department of . Donald N. Snyder Jr.
Corrections Director

Menard Correctional Centar / P.O. Box 711 / Menard, IL 62259-9998 / Telephone: (618) 826-5071 / TDD: (800) 526-0844

~~,

MEMORANDUM

a DATE: June 26, 2001
TO: ~~ Mark Gerdes, LEHP
Environmental Health Coordinator
FROM: - Roger D. Cowan
Warden
° SUBJECT: Safety and Sanitation Inspection
Health Care Unit

(Finding) Water damage was present to certain drop-in ceiling tiles located in the 3” floor
north hallway (this was identified in a 11-16-00 inspection report). | was informed that a
proposal has been submitted for roof repair, Additional water damage was present to ceiling
tiles in Room 310.

(Response) Roof project completed in June, repairs completed to damaged ceiling
tiles (no water damage issues at present time).
(Finding) Replace or resurface the tables (as soon as funds can be made available),

(Response) New vinyl being purchased, repairs completed within 10 days from
report date. .

rina) Replace or resurface counter tops and edges (as soon as funds can be made .
available),

(Response) Resurfaced in month of May, follow-up maintenance will continue.

Case_3:02-cv-00945-WDS-DGW Document Gd. Fi ‘Aros fage 16 of 35 Page ID #431

utd Mbigne
INDI vy G H.R
illinois ess Brod corse HF yan
Department of bn ai le * tN Smvder
Corrections one piece

1301 Concordia Court / P.O.Box 19277 / Springfield , !I. 62794-9277 / Telephone: (217) 522-2666 / TDD: (800) 526-0844
MEMORANDUM :

DATE: - 6/6/01

TO: ~~ Roger Cowan, Warden
Menard Correctional Center

FROM: | Mark Gerdes, LEHP
Environmental Health Coordinator

SUBJECT: Safety and Sanitation Inspection

On 4/4/01, a safety and sanitation inspection was conducted at the. Menard
Correctional Center. The following are findings (F) determined to be inconsistent with

_ applicable standards. Note that a suggested time frame for correction follows the
recommendations (R). Please provide a response.

Health Care Unit.

F. . Water damage was present to certain drop-in ceiling tiles located in the 3” floor
north hallway (this was identified in a 11/16/00 inspection report). | was
informed that a proposal has been submitted for roof repair. Additional water
damage was present to ceiling tiles in Room 310.

R: In order to promote sanitary conditions, make any necessary repairs (as soon as

funds can be made available) and continue with project funding efforts.

F: In Rooms 105, 106, 108, 205, 207, and 209, vinyl table surfacing was cut or torn
in limited areas. Similar damage was identified in a 11/16/00 inspection report.
The damaged table surfacing limits effective cleaning and sanitization.

R: . Replace or resurface the tables (as soon as funds can be made available).
F: In Rooms 205 and 207, plywood was exposed on work surfaces. Exposed wood
Surfaces limit effective cleaning and sanitization.

R: Replace or resurface affected counter tops and edges (as soon as funds can be
made available).

: @aaaa

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 17 of 35 Page ID #432

On the date of the site visit. any other findings were either not significant or corrected

during the inspection, previously identif m
funding for resolution.  lesnited through work order submittals, or awaiting

Mark Gerdes, LEHP
Environmental Health Coordinator

cc: Menard CC Audit Liaison

Case 2: -00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 18 of 35 Page ID #433

George H. Ryan

Illinois rae H.R

Department of Donald N. Snyder jr.
onald W.

Corrections ie Dect

1301 Concordia Court / P.O.Box 19277 / Springfield , 11, 62794-9277 Telephone: (217) 522-2666 / TDD: (800) 526-0844
MEMORANDUM

DATE: 6/6/01

TO: Roger Cowan, Warden
Menard Correctional Center

FROM: Mark Gerdes, LEHP.
Environmental Health Coordinator

SUBJECT: Food Service Inspection

On 4/4/01, a food service inspection was conducted at the Menard Correctional Center,
‘ The following are findings (F) determined to be inconsistent with applicable standards.

Note that a suggested time frame for correction follows the recommendations (R).

Please provide a response.

F: .At the west end of the steam kettle island, a section of block wall was missing
and damaged. Oue to the damage, debris and piping was exposed. The
condition of the damage limits effective cleaning and sanitization,

R: In order to promote Sanitary practices, make necessary repairs (90 days).

F: Due to damaged gaskets or poorly-fitting doors, a steam oven in the special diet
room was leaking steam. The hood System located above the steam oven was
not operating. The steam generated by the oven was contributing to excessive

humidity in the kitchen area.

R: In order to decrease humidity and promote Sanitary practices, make necessary
repairs to the steam oven and make the exhaust system functional (aS Soon as
funds can be made available). If the exhaust system is not able to be repaired,
contact the IDOC liaison to the Office of the Illinois State Fire Marshal regarding
if a hood exhaust & suppression system is necessary above the steam oven: if a
System is required, purchase and install an appropriate exhaust and fire
Suppression system (as soon as funds can be made available).

: G@4aas

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 19 of 35 Page ID #434

F: In the employee dining room kitchen, a section of block wall was exposed
around a newly-installed door at the back entrance.

R: Make necessary repairs to the block wall (90 days),

On the date of the site visit, any other findings were either not significant or corrected
during the inspection, previously identified through work order submittals, or awaiting
funding for resolution. .

Mark Gerdes, LEHP
Environmental Health Coordinator

cc: Menard CC Audit Liaison

: ABGAG

‘ Case -cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 20 of 35 Page ID #435

George H. Ryan

Illinois Govemor
Department of
Corrections Donald N. Snyder Jr.

1301 Concordia Court / P.O.Box 19277 / Springfield , IL. 62794-9277 / Telephone: (217) 522.2666 / TDD: (800) 526-0844

MEMORANDUM
DATE: — 6/06/01
TO: ———- Roger Cowan, Warden

Menard Correctional Center

FROM: — Mark Gerdes, LEHP
Environmental Health Coordinator

SUBJECT: Ventilation Survey —

On 4/4/01, a qualitative ventilation ‘survey was: Conducted at the Menard Correctional
~ Center. Air flow measurements were oblained witha KURZ. Series 490 Anemometer. The

following are test results from a random sample of rooms.

Airflow in cubic feet/minute (cfm) *:

Area CFM/Occupant
Housing Unit rooms ° / 20-425 (A) -.
MSU rooms. - . - 40-50° -
Armory, MSU contro! . oo 150-1000
HU control areas . Sufficient (B)
Main dining rooms >10 (C) .
MSU dining room . >10(D)

(A) Values based on actual readings and estimates from a 3/28/86 report by Edward J. Long & Associates,
Ltd. and 5/1/92 ventilation report by Peter Kwasnik. former Environmental Health Coordinator. Based
on a visual inspection and an absence of conditions typically associated with inadequate ventilation
(excessive odors, heat and humidity), it is my opinion that there are no significant changes from the
values indicated in the two reports,

(B) Estimates based on the 3/86 and 5/92 ventilation reports referenced above and the 4/01 site visit, at
which there was an absence of conditions typically associated with inadequate ventilation.

(C) Value taken from the 5/92 ventilation survey,

(D) Fstimate based on a visual inspection and absence of conditions typically associated with inadequate
ventilation.

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 21 of 35 Page ID #436

Conclusion

es

It is my opinion that ventilation is in conformance with ACA Standards 3-4144 & 3-4145.

_ Mark Gerdes, LEHP.
~ Environmental Health Coordinator

cc: Menard CC Audit Liaison

|: 240608

Case3. -00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 22 of 35 Page ID #437

. ° George H.R an
linois see avemor

Department of
Corrections penetra

1301 Concordia Court / P.O.Box 19277 / Springfield , IL. 62794-9277 / Telephone: (217) §22-2666 { TOD: (800) 626-0844 ©
MEMORANDUM

DATE: 6/06/01

TO: | Roger Cowan, Warden
Menard Correctional Center

FROM: . Mark Gerdes, LEHP
Environmental Health Coordinator

SUBJECT: Illumination Survey

On 4/4/01, an illumination survey ‘was conducted at ‘the’ Menard Correctional Center.
Ilumination readings were taken with a, General Electric Model 214 Light Meter. The
following are test results from a random sample of rooms.

Imiinatin in Feet Cale fe)...

Area ' Reading Grooming. ~*~
Housing Unit rooms 10-50 * 10-1104 ©

MSU rooms . 50-120 30-40

In some North Housing Unit rooms, illumination levels do not meet the requirements of ACA Standard
3-4139 of 20 foot candles (fe) minimum, However, Security requirements within the unit may justify the
current lighting design (bulbs recessed behind a metal grate). If permitted, use of personal reading
lamps would elevate the reading-level fc values.

Some values less than 20 fc in South Housing Unit rooms may be caused by use of incandescent bulbs
rated at 34, 40, or SO watt power; if the electrical wiring in the HU is of sufficient capacity, illumination
* may be increased through installation of higher-wattage bulbs.

hh tre

Mark Gerdes, LEHP
Environmental Health Coordinator

cc: Menard CC Audit Liaison

: 4248049

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 23 of 35 Page ID #438

1 i George H. R
illinois Governor m
Department of onatd N. Snyd
Corrections ona eee

1301 Concordia Court / P.O.Box 19277 / Springfield , (L. 62794-9277 / Telephone: (217) 522-2666 / TDD: (800) 526-0844 ©
MEMORANDUM

DATE: 6/06/01

TO: Roger Cowan, Warden
Menard. Correctional Center

FROM: Mark Gerdes, LEHP
Environmental Health Coordinator

SUBJECT: Sound Level Survey .
~ On 10/10/00 & 4/4/01, sound level ‘Siitveys \ were 5 conducted at the Menard Correctional
Center. Sound level.readings were taken. with a CEL. instruments Model 231 Sound

Survey Meter, The following are test: results from a random sample of rooms.

Sound Level in, Decibels (dBA) -

Day ——_sNight
Housing Units/Living Areas - 50:70 a 38-45

Conclusion

It is my opinion that sound levels are in conformance with ACA Standard 3-4143.

fd Lycae

Mark Gerdes, LEHP
_ Environmental Health Coordinator

ce: Menard CC Audit Liaison

: AAALA

Ses oo eae Page 24 of 35 Page ID #439

WP ATUL

George H. Ryan

lili nois Governor
Department of 5
. onald N. Snyder Jr.
Co rrections Director” rar
1301 Concordia Court / P.O.Box 19277 / Springfield , tl. 62794-9277 ! Telephone: (217) 522-2666 / TDD: (800) 526-0844
MEMORANDUM .
DATE: 1/11/01
TO: Roger Cowan, Warden
Menard Correctional Center
FROM: Mark Gerdes, LEHP

Environmental Health Coordinator

SUBJECT: Safety. and Sanitation Inspection

Following review of your 12/29/00 res

ponse to findings contained in a 11/16/00 Safety

and Sanitation Inspection report,
facility personnel are appropriate

it is my opinion that all response actions taken by
for addressing the 11/16 report findings.

f
Nhd bec
Hit a

Mark Gerdes, LEHP
Environmental Health Coordinator

ce: Menard CC Audit Liaison

>: HAAG 4

Case 3:02-cv-00945-WDS-DGW Dagument fe Filed 06/30/08 Page 25 of 35 Page ID #440
a ott flee

di
- - jawed) ALE George H. Ryan
Illinois Governor y

Department of
Corrections Donald N. Snyder Jr

1301 Concordia Court / P,O.Box 19277 | Springfield , IL. 62794-9277 / Telephone: (217) 522-2666 / TDD: (800) §26-0844

MEMORANDUM

DATE: 7127101

TO: Jonathan Walls, Warden
Menard Correctional Center

FROM: . . Mark Gerdes
Environmental Health Coordinator

SUBJECT: Food Service Inspection Response

Following review of the 6/21/01 Menard CC tesponse to findings from a 6/6/01 Food

Service Inspection report, it is my opinion that all response actions taken are appropriate
for addressing the 6/6/01 report findings. Do

Mark Gerdes
Environmental Health Coordinator

cc; Menard CC Audit Liaison

: 4.2

45-WDS-DGW Document 85-1 Filed 06/30/08 Page 26 of 35 Page ID #441

e a . G H. R
Illinois eorge H. Ryan
Department of oma
Corrections onald N. Snyder Jr

Menard Correctional Center / P.O. Box 711 / Menard, IL 62259-9998 / Telephone: (618) 826-5071 / TDD: (800) 526-0844

MEMORANDUN-

. DATE: June 21, 2001

TO: Mark Gerdes, LEHP
Environmental Health Coordinator

FROM: Roger D. Cowan, Warden
Menard Correctional Center

SUBJECT: Food Service Inspection

1. Finding: In the Inmate kitchen at the west eng'of the steain kettle island, a section of the block

Response: Repaired

2. Finding: Due to a damaged gasket or Poorly-fitting doors, a steam oven in the special diet room

was leaking steam. The hood system located above the:steam Oven was not operating. The
steam generated by the oven is contributing to excessive humidity in the kitchen area,

Response: A new steam kettle has been purchased awaiting installation. Work order have been
submitted. The unit in.question is awaiting new gaskets and repairs from outside contractors.
The hood system doesn't need a Suppressed system per Fire Marshall, due to no gas, open
flame, or electric to unit. Work orders have been submitted to repair existing exhaust system.

3. Finding: in the Employee Dining Room Kitchen, a section of block wail was exposed around a
newly installed door at the back entrance.

Response: Work orders have been submitted and repairs have been completed.

Obl ben

Roger D. Cowan
WARDEN

ce: Dwight Brockmeyer, [ACO
AWN Greg Lambert
Lee Schroeder, Dietary Manager

Case 3: 45-wos-D6 p Oe, ee Gef0h6s Page 27 of 35 Page ID #442
AU) Kit

. . George H. Ryan
lilinois Govemon y

Department of
Corrections

1301 Concordia Court /P.O.Box 19277 / Spring

Donald N. Snyder Jr.
Director

field , ll. 62784-9277 / Telephone: (217) 522-2666 / TDD: (800) 528-0844

MEMORANDUM
DATE: 116/01
TO: Roger Cowan, Warden

Menard Correctional Center

FROM: Mark Gerdes, LEHP
Environmental Health Coordinator

SUBJECT: _ Food Service Inspection |
Following review of your -1/5/01 response to a 11/16/00 Safety and Sanitation

Inspection report, it is my opinion that the response action taken at Menard CC is
appropriate for addressing the 11/16/00 report recommendation.

ffl Lee

Mark Gerdes, LEHP
Environmental Health Coordinator

cc: Menard CC Audit Liaison

443
Ue-%-VVDS-DGW Document 85-1 Filed 06/30/08 Page 28 of 35 Page ID#

Cas wy )
lilinois George H. Ryan
: overnor
Department of Donald N. Snyder
es 0 .
Corrections nald N. Snyder Jr

MEMORANDUM
SS ER ANDUM

_ DATE: January 5, 2001
TO: Mark Gerdes, LEHP
Environmental Health Coordinator

FROM: Roger D. Cowan, Warden
* Menard Correctional Center

SUBJECT: Food Service Inspection 10/10/00

10, 2000.

A needs survey has been completed and bids are being taken for leasing acceptable insect
éliminators. installation should occur prior to April, 2001.

LP

Koes D. Cowan
WARDEN

RDC: jp

cc: Gary Knop, AW Operations
Tom Maue, Safety/Sanitation Coordinator
Internal Audit Contro| Officer

> AMG S

/30/08 Page 29 of 35 Page ID #444

we” yr
inoi qo George H.R
Illinois vat 4: 4 evernon yan
Department of / 9 onan. Savage
ic onald N. Snyder Jr.
Corrections N. Snyde

1301 Concordia Court / P.O.B0x 19277 / Springfield , IL. 62794-9277 / Telephone: (217) 522-2666 / TOD: (800) 526-0844 ©

MEMORANDUM

DATE: 11/16/00 -

TO: Roger Cowan, Warden
Menard Correctional Center

FROM: ‘Mark Gerdes, LEHP

Environmental Health Coordinator

SUBJECT: Food Service inspection

On 10/10/00, a food service inspection was conducted at the Menard Correctional
‘Center. | am pleased. to report. that, onthe date ‘of the-site visit, any findings were
either not significant in nature,- previously identified through work order submittals, or
awaiting funding for resolution, - SO CO

The following recommendation appeared in 2/25/98 and 7/2/99 Food Service Inspection reports and still

applies:

In order to contro! fly infestation-in the kitehen, and. food prepariition/service. areas, lease an appropriate
number of Ecolab Stealth" units for dietary areas. Product and contact information is attached. .

Unlike bug “zapper’-type units {where insects are destroyed and the remaining debris can be tracked

through

the area), the Stealth® merely traps insects, has an enclosed base and can be used in food

preparation areas. The unit is reported to be effective for airborne insect contro! at certain other IDOC
facilities and can ultimately reduce the chance for disease transmission in food preparation areas.

f

Mark Gerdés, LEHP
Environmental Health Coordinator

cc:

Menard CC Audit Liaison

: AMGAAG

ey.)

TTBS TET es
EDM antag

PETE FE

URIS) ae

Document 85-1 Filed 06/30/08 Page 30 of 35 Page ID #445

MAXIMA * UL tested for
delivers safely and reliabilivy,
maximum the Stealth Maxhna
effectiveness can be hard-wired ar

Plugecd into any
@rounded 110V
OULICL

The Stealth Maxima
is Une workhorse of
the program. A high
performance unit,

* Thousands of

the Maxima is specially designed for salisfied customers agree — the

back-of-the-house placemeni. SLeallh Maxima delivers Maximum fly
. slonping effectiveness.

° Perfect for kitchens and utility

areas — wherever maximum fly * Available in coo! white only.
catching power is needed.

DECORA
does the dirty.
work in style.

New from Ecolab,
the Stealth Decora
makes it possible to
discreetly control fly
problems in public.
front-of-the-house areas.

* Ecolab alsn attaws
you LO paint or
decorate the unit wo
meteh your (facility's
interior design.

* The stylish Decora
Provides unbrstable
performances in it
Smalicr, front-of-the-house unit.

° The Stealth Decora’s small size and
attractive design options make it
Stylishly unobtrusive.

* Avaliable in 2 colors and Styles,
the Decora unit. blends In to become
an integral part of your facility's
inlerior design (available In cool
white and warm ercy),

For more information on our
comprehensive Flying Insect, Defense
Program or a FREE Premises survey,
call 1-800-325-1671.

1-800-325-1671

ee
ECOLAB
Pest Elimination Service
°s nat OBE a?

Case -WDS-DGW Document 85-1 Filed 06/30/08 Page 31 of 35 Page ID #446

a . George H. Ryan
Illinois . Governor y

Department of Donald N. Snyd
; . on . .
Corrections Leer

1301 Concordia Court /P.O.Box 19277 / Springfield , IL. 62794-9277 / Telephone: (217) 522-2666 / TDD: (800) §26-0844
MEMORANDUM .

DATE: 11/16/00

TO: Roger Cowan, Warden
Menard Correctional Center

FROM: | Mark Gerdes, LEHP
‘ Environmental Health Coordinator

SUBJECT: Safety and Sanitation Inspection
On 10/10/00, a safety and sanitation inspection was conducted at the Menard
Correctional Center. The following are findings (F) determined to be inconsistent with

applicable standards. Note that a Suggested time frame for correction follows the
recommendations (R). Please provide a response.

Health Care Unit

F: On the third floor, water damage was Present on drop-in ceiling tiles located in
the north hallway, | was informed that a proposal has been submitted for roof
repair, |

R: In order to promote sanitary conditions, make any necessary repairs (as soon as

funds can be made available) and continue with project funding efforts.

F: In rooms 106, 207, and 209, vinyl table surfacing was cut or torn in limited areas.
' The damaged covering limits effective cleaning and sanitization.

R: Replace or resurface the tables (as soon as funds can be made available).

Cold Storage
F; Certain cooler/freezer door frames exhibited moderate to sever impact damage.

Water damage to sections of the corridor ceiling has resulted in warped and
bowed panels throughout the corridar.

(cont.)

R: Replace or repair the door frames and, if the cause of water damage in the
Corridor ceiling has not been corrected, make necessary repairs (As soon as
funds can be made available).

Wht

‘Mark Gerdes, LEHP
Environmental Health Coordinator

cc; = Menard CC Audit Liaison

: 46619

GAC

State of Illinois L2S2usy
rtment of Public Health

( LICENSE, PERMIT, CERTIFICATION, REGISTRATION ) a

The person, firm or COrporalion whosa name appears on Ihis cenilicale has compliad with the
Provisions of Ihe Illinola Statutes and/or %1€5 and regulalions and is hareby auihorizad to .
engage in the acivily ag Indicaled below,

Is2ued under th authority of

JOHN R. LUMPKIN, M.D, Tha, Stata af Minols
/ DIRECTOR Depanmant of Punic Health
93/31/2005| 055/ 01070397

MARK _J_GERDES
IS CERTIFIED IN FooD SERVICE
SANITATION BY EXAM ON 03/31/95

ISSUED 01/29700
BUSINESS ADDRESS

MARK J _GERDES

a |

Tho face of this Itteasa has a colored background. Printed by Authority of Ihe State of lilinals « 1/99 »

SOLU NVI SDBDD

PLAYA

oey

7 . # L : ee

Any

LICENSED
RONMENTAL HE

og PRACTITIONERS:

Set,

a DIRECTOR"

© 3-92-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 33 of 35 Page ID #448

NAL SAFETY AND HEALTH ADMINISTRATION" 7
SS TRAINING INSTTTUTE ,

CCUPATIO!
ea

* This seknowledges that

ERDES

is an OSHA General Industry Outreach Trainer
«Trainers are authorized to conduct 10- and 30: hour
_ General Industry outreach training ia avcordance

with guidelines provided by the OSHA Training Institute,
kapirx 8/11/03
Director .

U.S. Department of Laber
Occupatianal Safoty
and Maatth Administration
National Training Institute

MARK GERDES

Has completed
A GUIDE TO VOLUNTARY COMPLIANCE
IN SAFETY ANO HEALTH COURSE, #501
and is authorized as a 10- and 30- hour
General Industy Outreach Program Trainer,

11/22/96

Course Date

OSHA.

}

ne

Director

Yiationg a
evens:
04/30/2002" °°:

ALTH 3.°~

SIE,

| Baud unger ino aumngrity of -
“ls. "The State-al ilinol..

"Deparment Of Profassionel Regulation. . |

Case -WDS-DGW Document 85-1 Filed 06/30/08 Page 34 of 35 Page ID #449

George H. Ryan

[ ! | i n ois Governor
Department of Donald N. Snyder J
Corrections Directoe

1301 Concordia Court ! P.O.Box 19277 / Springfield , IL. 62794-9277 | Telephone; (217) 522-2666 / TOD: (800) 526-0844

MEMORANDUM
DATE: 11/16/00
TO: Roger Cowan, Warden

Menard Correctional Center

FROM: Mark Gerdes, LEHP
Environmental Health Coordinator

SUBJECT: Food Service Inspection

On 10/10/00, a food service inspection was conducted at the Menard Correctional .
Center. | am pleased to report that, on the date of the site visit, any findings were

either not significant in nature, previously identified through work order submittals, or

awaiting funding for resolution.

The following recommendation appeared in 2/25/98 and 7/2/99 Food Service Inspection reports and still
applies; m

In order to control fly infestation in the kitchen and food Preparation/service areas, lease an appropriate
number of Ecolab Stealth" units for dietary areas. Product and contact information is attached.

Unlike bug “zapper"-type units (where insects are destroyed and the remaining debris can be tracked
through the area),.the Stealth merely traps insects, has an enclosed base and can be used in food
Preparation areas. The unit is reported to be effective for airborne insect control at certain other IDOC
facilities and can ultimately reduce the chance for disease transmission in food preparation areas.

Wl, Sef.

Mark Gerdés, LEHP
Environmental Health Coordinator

cc: Menard CC Audit Liaison

: 4A? 1

Case 3:02-cv-00945-WDS-DGW Document 85-1 Filed 06/30/08 Page 35 of 35 Page ID #450

Olive vs. Snyder, et al.
USDC-SD Ill. No. 02-945-WDS

CERTIFICATE OF SERVICE
Ellen C. Bruce, Assistant Attorney General, herein certifies that she has served a

copy of the foregoing Defendants’ Response to Plaintiff's Interrogatories and Request
for Production of Documents upon:

Anthony Olive, #B45286

Western Illinois Correctional Center
2500 Route 99 South

Mt. Sterling, Illinois 62353
by causing to be mailed a true copy thereof at the address referred to above in an
envelope duly addressed bearing proper first class postage and deposited in the United

States mail at Springfield, Illinois on June 30, 2008.

ELLEN C. BRUCE
Assistant Attorney General

Ellen C. Bruce, #6288045
Assistant Attorney General
General Law Bureau

Office of the Attorney General
500 South Second Street
Springfield, Illinois 62706
(217) 782-9026

